Case 1:23-mi-99999-UNA Document 2544-3 Filed 08/09/23 Page 1 of 2




                 Exhibit C
Case 1:23-mi-99999-UNA Document 2544-3 Filed 08/09/23 Page 2 of 2



      BACK   I    NEW SEARCH    I
                                                                      Inmate details
       Name                         ALSTON JOHNNIE KIMBLE                               LE#            0974248

       Intake Date                  01/04/2023

       Intake Time                  03:06AM

       Arresting Agency             Riverdale Police Department

       Sex                          M                                                   Race           B

       Height                       5'11"                                               Weight         165

       Address                                               , JONESBORO, GA 30236

                                                                   Name(s) of Record
                                                                   Name(s)                                                             Name Type

       ALSTON JOHNNIE KIMBLE                                                                                                          Committed

       AUSTIN JOHNNIE                                                                                                                 Alias

                                                                        Offense(s)
             Charge
                                                                  Charges                                               Bond Amount*
             Number

                                                                                                             **NOT READY**
                 1           WEAPON - POSSESSION OF DURING A CRIME
                                                                                                             No Amount Set

                                                                                                             ** NOT READY**
                 2           CRUELTY TO CHILDREN 1ST DEGREE
                                                                                                             No Amount Set

                                                                                                             ** NOT READY**
                 3           RECKLESS CONDUCT                                                                Property: $5000.00•
                                                                                                             Fees: 100.00•

                                                                                                             ** NOT READY**
                 4           ASSAULT AGGRAVATED
                                                                                                             No Amount Set

                                                                                                             •• NOT READY**
                 5           MURDER/FELONY
                                                                                                             No Amount Set


       *Disclaimers

             • Additional Fees Not Included in Bond Amounts
             • Bond/Fee Amounts Subject to Change
             • Dockets indicating a Property Bond can be satisfied by making approved Property Bond or paying the full amount in cash plus
               applicable fees
             • Dockets indicating a Cash Bond can only be satisfied by paying cash plus applicable fees
